  Case: 2:15-cr-00044-JLG Doc #: 55 Filed: 08/27/15 Page: 1 of 1 PAGEID #: 282
                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              EASTERN DIVISION
UNITED STATES OF AMERICA

-vs-                                            Case No. 2:15-CR-44 (02)

WILLIAM BRADLEY
________________________________
                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY
     The Defendant, by consent, has appeared before me pursuant to
Rule 11, F.R.Cr.P. and has entered a plea of guilty to Count one (1)
of the Information. After examining the Defendant under oath
concerning each of the subjects mentioned in Rule 11, I determine that
the defendant is competent and capable of entering an informed plea,
that the guilty plea is knowingly and voluntary made and that the
offenses charged are supported by an independent basis in fact
containing each of the essential elements of such offense.
     The plea agreement contains a binding agreement as to the
guideline sentencing factors and calculations and the sentence and it
is up to the District Judge to determine if that part of the agreement
is appropriate. If the District Judge does so determine, I RECOMMEND
the plea agreement and the plea of guilty should be accepted and the
Defendant should be adjudged guilty and sentenced accordingly.
Otherwise, the plea agreement should be rejected and the defendant
should be allowed to with draw the guilty plea.
     The Defendant remains on bond pending sentencing.
Date:      August 27, 2015                  /s/ Terence P. Kemp
                                           UNITED STATES MAGISTRATE JUDGE

                                    NOTICE

     Failure to file written objections to this Report and
Recommendation within fourteen (14) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge. 28
U.S.C. Section 636(b)(1)(B).
